           Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 1 of 10




                                                      U.S. Department of Justice

                                                      Andrew E. Lelling
                                                      United States Attorney
                                                      District of Massachusetts

Main Reception (617) 748-3100                         John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      May 1, 2020


Julie-Ann Olson, Esq.
Assistant Federal Defender
Federal Public Defender Office
51 Sleeper Street, 5th Floor
Boston, MA 02210

         Re:       United States v. Michael Pridgen
                   Criminal No. 19-10375-RGS

Dear Ms. Olson:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, Michael Pridgen (“Defendant”), agree as follows with respect to the above-referenced
case:

         1.        Change of Plea

        At the earliest practicable date, Defendant shall plead guilty to all counts in which he is
named in the above-referenced Indictment: Count One, Distribution of and Possession with Intent
to Distribute Cocaine Base, 21 U.S.C. § 841(a)(1); Count Two, Distribution of and Possession
with Intent to Distribute Cocaine Base, 21 U.S.C. § 841(a)(1); Count Three, Possession with Intent
to Distribute Cocaine Base and Fentanyl, 21 U.S.C. § 841(a)(1); and Count Four, Distribution of
and Possession with Intent to Distribute In or On a Housing Facility Owned By a Public Housing
Authority, 21 U.S.C. §§ 841(a)(1), 860. Defendant expressly and unequivocally admits that he
committed the crimes charged in Counts One through Four of the Indictment, did so knowingly
and intentionally, and is in fact guilty of those offenses.
         Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 2 of 10




       2.      Penalties

       Defendant faces the following maximum penalties on each count in Counts One through
Three of the Indictment: incarceration for 20 years, a fine of up to $1 million, supervised release
from three years to life, a special assessment of $100, and forfeiture to the extent charged in the
Indictment.

        Defendant faces the following mandatory minimum and maximum penalties on Count Four
of the Indictment: incarceration for a mandatory minimum of 1 year up to a maximum of 40 years,
supervised release from six years to life, a special assessment of $100, and forfeiture to the extent
charged in the Indictment.

        Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

       3.      Fed. R. Crim. P. 11(c)(1)(C) Plea

        This Plea Agreement is made pursuant to Fed. R. Crim. P. 11(c)(1)(C), and Defendant’s
guilty plea will be tendered pursuant to that provision. In accordance with Rule 11(c)(1)(C), if the
District Court (“Court”) accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment. If the Court rejects any aspect of this Plea Agreement, the U.S.
Attorney may deem the Plea Agreement null and void. Defendant understands and acknowledges
that he may not withdraw his plea of guilty unless the Court rejects this Plea Agreement under
Fed. R. Crim. P. 11(c)(5).

       4.      Sentencing Guidelines

        The parties agree jointly to take the following positions at sentencing under the United
States Sentencing Guidelines (“USSG” or “Guidelines”). The parties agree that Defendant’s total
adjusted offense level under the Guidelines is calculated as follows:

                  in accordance with USSG § 2D1.1(a)(5), Defendant’s base offense level is 24,
                   because the total aggregate converted drug weight for his offenses is between
                   100 and 400 kilograms;

                  in accordance with USSG § 2D1.2(a)(1), Defendant’s offense level is increased
                                              2
        Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 3 of 10




                    by 2, because the drugs were possessed and/or distributed within a public
                    housing development;

                   in accordance with USSG § 3E1.1, based on Defendant’s prompt acceptance of
                    personal responsibility for the offenses of conviction in this case, the adjusted
                    offense level is reduced by 3.

The U.S. Attorney’s agreement that the disposition set forth below is appropriate in this case is
based, in part, on Defendant’s prompt acceptance of personal responsibility for the offense(s) of
conviction in this case.

       The U.S. Attorney may, at his sole option, be released from his commitments under this
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant’s execution of this Plea
Agreement and sentencing, Defendant:

              (a)      Fails to admit a complete factual basis for the plea;

              (b)      Fails to truthfully admit Defendant’s conduct in the offense(s) of
                       conviction;

              (c)      Falsely denies, or frivolously contests, relevant conduct for which
                       Defendant is accountable under USSG § 1B1.3;

              (d)      Fails to provide truthful information about Defendant’s financial status;

              (e)      Gives false or misleading testimony in any proceeding relating to the
                       criminal conduct charged in this case and any relevant conduct for which
                       Defendant is accountable under USSG § 1B1.3;

              (f)      Engages in acts that form a basis for finding that Defendant has obstructed
                       or impeded the administration of justice under USSG § 3C1.1;

              (g)      Intentionally fails to appear in Court or violates any condition of release;

              (h)      Commits a crime;

              (i)      Transfers any asset protected under any provision of this Plea Agreement;
                       or

              (j)      Attempts to withdraw Defendant’s guilty plea.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
                                                3
        Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 4 of 10




and the U.S. Probation Office with accurate and complete information regarding this case.

       5.     Agreed Disposition

       Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

              (a)     incarceration for 54 months;
              (b)     72 months of supervised release, including the geographic restriction
                      attached as Attachment A to this Agreement;

              (c)     a mandatory special assessment of $400, which Defendant must pay to the
                      Clerk of the Court on or before the date of sentencing (unless Defendant
                      establishes to the Court’s satisfaction that Defendant is unable to do so);
                      and
              (d)     forfeiture as set forth in Paragraph Seven.

       6.     Waiver of Right to Appeal and to Bring Future Challenge

              (a)     Defendant has conferred with his attorney and understands that he has the
                      right to challenge his conviction in the United States Court of Appeals for
                      the First Circuit (“direct appeal”). Defendant also understands that, in some
                      circumstances, Defendant may be able to challenge his conviction in a
                      future proceeding (collateral or otherwise), such as pursuant to a motion
                      under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right
                      to challenge Defendant’s conviction on direct appeal or in any future
                      proceeding (collateral or otherwise).

              (b)     Defendant has conferred with his attorney and understands that defendants
                      ordinarily have a right to challenge in a direct appeal their sentences
                      (including any orders relating to the terms and conditions of supervised
                      release, fines, forfeiture, and restitution) and may sometimes challenge their
                      sentences (including any orders relating to the terms and conditions of
                      supervised release, fines, forfeiture, and restitution) in a future proceeding
                      (collateral or otherwise). The rights that are ordinarily available to a
                      defendant are limited when a defendant enters into a Rule 11(c)(1)(C)
                      agreement. In this case, Defendant waives any rights Defendant may have
                      to challenge the agreed-upon sentence (including any agreement relating to
                      the terms and conditions of supervised release, fines, forfeiture, and
                      restitution) on direct appeal and in a future proceeding (collateral or
                      otherwise), such as pursuant to 28 U.S.C. § 2255 and 28 U.S.C. § 2241.

                                                4
         Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 5 of 10




                        Defendant also waives any right Defendant may have under 18 U.S.C.
                        § 3582(c)(2) to ask the Court to modify the sentence, even if the USSG are
                        later amended in a way that appears favorable to Defendant. Likewise,
                        Defendant agrees not to seek to be resentenced with the benefit of any
                        change to Defendant’s Criminal History Category that existed at the time of
                        Defendant’s original sentencing. Defendant also agrees not to challenge the
                        sentence in an appeal or future proceeding (collateral or otherwise) even if
                        the Court rejects one or more positions advocated by any party at
                        sentencing. In sum, Defendant understands and agrees that in entering into
                        this Plea Agreement, the parties intend that Defendant will receive the
                        benefits of the Plea Agreement and that the sentence will be final.

               (c)      The U.S. Attorney agrees that he will not appeal the imposition by the Court
                        of the sentence agreed to by the parties as set out in Paragraph 5, even if the
                        Court rejects one or more positions advocated by either party at sentencing.

               (d)      Regardless of the previous subparagraphs, Defendant reserves the right to
                        claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
                        under Strickland v. Washington; or (ii) the prosecutor in this case engaged
                        in misconduct that entitles Defendant to relief from Defendant’s conviction
                        or sentence.

       7.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.
       The assets to be forfeited specifically include, without limitation, the following:

               a. One blue Samsung smart phone, model: SM-A102U, serial number:
                  RF8M731EGJV, IMEI: 356273101145350;

               b. one       white   Apple    iPhone,    model:     A-1688,     IC:   579C-E29468A;

               c. one silver LG cell phone, serial number: 705CYVU531639, IMEI: 358772-08-
                  531639-8;

               d. one black LG cell phone, IMEI: 351602-10-126213-5;

               e. one gold Apple iPhone, model: A-1549, IMEI: 354404069635494; and
                                                  5
         Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 6 of 10




               f. $2,292 in United States currency, to be entered in the form of an Order of
                  Forfeiture (Money Judgment).
        Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offense; and/or they were property
intended to be used or used to facilitate Defendant’s offense.
       Defendant also admits that $2,292 is subject to forfeiture on the grounds that it is equal to
the amount of proceeds the Defendant derived from the offense.
         Defendant acknowledges and agrees that the amount of the forfeiture money judgment
represents the amount of proceeds that the Defendant obtained (directly or indirectly), and/or
facilitating property and/or property involved in, the crimes to which Defendant is pleading guilty
and that, due at least in part to the acts of Defendant, the proceeds or property have been transferred
to, or deposited with, a third party, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other
property which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as “substitute assets” any other assets of Defendant up to the
value of the now missing directly forfeitable assets.
         Defendant agrees to consent to the entry of orders of forfeiture for such property and waives
the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a) regarding
notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the change-
of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the forfeiture
in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or affect any
fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed to the
United States.
        Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States


                                                  6
         Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 7 of 10




Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.
        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.
       8.      Civil Liability

         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

       9.      Withdrawal of Plea by Defendant or Rejection of Plea by Court

        Should Defendant move to withdraw his guilty plea at any time, or should the Court reject
the parties’ agreed-upon disposition of the case or any other aspect of this Plea Agreement, this
Plea Agreement shall be null and void at the option of the U.S. Attorney. In this event, Defendant
agrees to waive any defenses based upon the statute of limitations, the constitutional protection
against pre-indictment delay, and the Speedy Trial Act with respect to any and all charges that
could have been timely brought or pursued as of the date of this Plea Agreement.

       10.     Breach of Plea Agreement

        If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has engaged in any of the activities set forth in Paragraph 4(a)-(j), has violated
any condition of Defendant’s pretrial release, or has committed any crime following Defendant’s
execution of this Plea Agreement, the U.S. Attorney may, at his sole option, be released from his
commitments under this Plea Agreement in their entirety by notifying Defendant, through counsel
or otherwise, in writing. The U.S. Attorney may also pursue all remedies available to him under
the law, regardless whether he elects to be released from his commitments under this Plea
Agreement. Further, the U.S. Attorney may pursue any and all charges which otherwise may have
been brought against Defendant and/or have been, or are to be, dismissed pursuant to this Plea
Agreement. Defendant recognizes that his breach of any obligation under this Plea Agreement
shall not give rise to grounds for withdrawal of Defendant’s guilty plea, but will give the U.S.
Attorney the right to use against Defendant before any grand jury, at any trial or hearing, or for
sentencing purposes, any statements made by Defendant and any information, materials,

                                                  7
         Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 8 of 10




documents or objects provided by Defendant to the government, without any limitation, regardless
of any prior agreements or understandings, written or oral, to the contrary. In this regard,
Defendant hereby waives any defense to any charges that Defendant might otherwise have based
upon any statute of limitations, the constitutional protection against pre-indictment delay, or the
Speedy Trial Act.

       11.     Who is Bound by Plea Agreement

        This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.

       12.     Modifications to Plea Agreement

       This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Elianna J. Nuzum.


                                                     Very truly yours,

                                                     ANDREW E. LELLING
                                                     United States Attorney




                                             By:     LORI J. HOLIK
                                                     Chief, Major Crimes Unit
                                                     WILLIAM ABELY
                                                     Deputy Chief, Major Crimes Unit




                                                     ELIANNA J. NUZUM
                                                     Assistant U.S. Attorney


                                                8
       Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 9 of 10




                        ACKNOWLEDGMENT OF PLEA AGREEMENT


        Ihave read this letter in its entirety and discussed it with my attorney. Ihereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney’s
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney’s Office; and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, Ihave
received no prior offers to resolve this case. Iunderstand the crimes to which Ihave agreed to
plead guilty, the mandatory minimum and maximum penalties for those offenses, and the
Sentencing Guideline penalties potentially applicable to them. Iam satisfied with the legal
representation provided to me by my attorney. We have had sufficient time to meet and discuss
my case. We have discussed the charges against me, possible defenses Imight have, the terms of
this Plea Agreement and whether Ishould go to trial. Iam entering into this Plea Agreement
freely, voluntarily, and knowingly because Iam guilty of the offenses to which Iam pleading
guilty and Ibelieve this Plea Agreement is in my best interest.




                                                     Michael Pridgen (J
                                                     Defendant


                                                     Date: S


         Icertify that Michael Pridgen has read this Plea Agreement and that we have discussed its
meaning. Ibelieve he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily and knowingly. Ialso certify that the U.S. Attorney has not extended any other
offers to resolve this matter.




                                                     Julie-Ann Olson
                                                     Attorney for Defendant

                                                     Date:
                                                              May 12, 2020




                                                 9
        Case 1:19-cr-10375-RGS Document 76 Filed 05/18/20 Page 10 of 10



                                         Attachment A

                              GEOGRAPHIC RESTRICTION

                                   U.S. v. Michael Pridgen
                                    No. 19-cr-10375-RGS

       During the period of supervised release, the defendant will be precluded from entering
the Heath Street area on the map set out below, bounded by Heath Street, S. Huntington Avenue,
Boylston Street, Armory Street, and Columbus Avenue (“the Exclusion Zone”) without the
express permission of the U.S. Probation Office. This restriction does not preclude the defendant
from traveling by motor vehicle on any of the roads bordering the Exclusion Zone. This
geographic restriction is subject to modification by the Court upon motion from either party.
